        Case 3:19-cv-00318-LPR-JTR Document 7 Filed 10/19/20 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               NORTHERN DIVISION

CHRISTOPHER MILLER                                                              PLAINTIFF
#109083

V.                            No. 3:19-CV-00318-LPR-JTR

KEVIN MOLDER, Sheriff,
Poinsett County Detention Center, et al.                                    DEFENDANTS

                                           ORDER

       Plaintiff Christopher Miller (“Miller”) has filed a Notice indicating that he is

currently residing at a private address in Truman, Arkansas. Doc. 6. If he wishes to continue

pursuing this lawsuit, he must file an updated in forma pauperis application or pay the $400

filing fee for this action.

       IT IS THEREFORE ORDERED THAT:

       1.      The Clerk is directed to mail Miller a free-world Application to Proceed In

Forma Pauperis.

       2.      If Miller wishes to continue pursuing this lawsuit, he must, within fourteen

(14) days of the date of this Order, either: (a) file a completed free-world Application to

Proceed In Forma Pauperis; or (b) pay the filing fee for this action. If he does not comply

with this Order, this case will be dismissed, without prejudice, pursuant to Local Rule

5.5(c)(2).

       DATED this 19th day of October, 2020.

                                              ____________________________________
                                              UNITED STATES MAGISTRATE JUDGE
